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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                      )
SECURITIES AND EXCHANGE COMMISSION,   )
                                      )
        Plaintiff,                    )
                                      )
     v.                               )
                                      )
GREGORY LEMELSON and LEMELSON CAPITAL )
MANAGEMENT, LLC,                      )                     Civil Action No. 1:18-cv-11926-PBS
                                      )
        Defendants,                   )
                                      )
  and                                 )
                                      )
THE AMVONA FUND, LP,                  )
                                      )
        Relief Defendant              )
                                      )

         AFFIDAVIT OF DOUGLAS S. BROOKS IN SUPPORT OF DEFENDANTS’
       OPPOSITION TO THE SECURTIES AND EXCHANGE COMMISSION’S
                       MOTION FOR PROTECTIVE ORDER

       I, Douglas S. Brooks, hereby swear and declare as follows:

       1.       I am a member in good standing of the Bar of the Commonwealth of

Massachusetts and am counsel to Defendants Rev. Fr. Emmanuel Lemelson (identified in the

Complaint as “Gregory Lemelson”) and Lemelson Capital Management, LLC, and Relief

Defendant The Amvona Fund, LP.

       2.       Attached hereto as Exhibit 1 is a true and correct copy of “Ligand

Pharmaceuticals (NASDAQ:LGND) – Severe competitive threat to key royalty program and

‘going concern’ risk drive 100 percent downside,” published June 16, 2014.

       3.       Attached hereto as Exhibit 2 is a true and correct copy of “Ligand

Pharmaceuticals (NASDAQ: LGND): Appendix,” published July 3, 2014.
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       4.       Attached hereto as Exhibit 3 is a true and correct copy of “Update: Lemelson

Capital Further Increases Short Stake in Ligand Pharmaceuticals (NASDAQ: LGND) as LGND

EPS Plunges 76 percent in Q2 2014,” published August 4, 2014.

       5.       Attached hereto as Exhibit 4 is a true and correct copy of “Lemelson Capital Says

Ligand Pharmaceuticals’ (NASDAQ: LGND) $225M Debt Issuance Solidifies Company’s

Insolvency, Substantially Raises Specter of Bankruptcy,” published August 14, 2014.

       6.       Attached hereto as Exhibit 5 is a true and correct copy of “Ligand

Pharmaceuticals (NASDAQ: LGND): Institutional holders wasting no time dumping stock in

response to mounting insolvency and bankruptcy risks,” published August 22, 2014.

       7.       Attached hereto as Exhibit 6 is a true and correct copy of a PowerPoint

presentation titled “Ligand Presentation to the SEC,” dated September 25, 2014, produced by

non-party Ligand Pharmaceuticals at LGND_0080678 - LGND_0080737.

       8.       Attached hereto as Exhibit 7 is a true and correct copy of an email exchange

between Bradley Bondi and Scott Friestad of the Securities and Exchange Commission between

May 18, 2015 and May 21, 2015, produced by the Securities and Exchange Commission at

EPROD-SEC-LIT-E-001189144-EPROD-SEC-LIT-E-001189147.

       9.       Attached hereto as Exhibit 8 is a true and correct copy of a PowerPoint

presentation titled “Ligand Presentation to the SEC,” dated June 8, 2015, produced by non-party

Ligand Pharmaceuticals at LGND_0080738 - LGND_0080799.

       10.      Attached hereto as Exhibit 9 is a true and accurate printout of the historical stock

prices of Ligand Pharmaceuticals, Inc. (LGND) for January 7, 2010 through January 6, 2020.

This data was taken from the NASDAQ historical data available at

https://www.nasdaq.com/market-activity/stocks/lgnd/historical.



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        11.   Attached hereto as Exhibit 10 is a true and accurate copy of the Amended Notice

of Videotaped Deposition pursuant to Fed. R. Civ. P. 30(b)(6) served by Defendants on the

Securities and Exchange Commission on November 19, 2019.

        12.   The Securities and Exchange Commission has deposed Father Lemelson

individually and as the representative of Lemelson Capital Management LLC and The Amvona

Fund LP over the course of two full days on October 16, 2019 and November 12, 2019.

        13.   Attached hereto as Exhibit 11 is a true and accurate printout of the Bloomberg

Article titled “Hedge Fund Priest’s Trades Probed by Wall Street Cop.,” published on March 18,

2016.

        14.   Father Emmanuel’s June 19, 2014 pre-market interview with Benzinga is

available at https://www.youtube.com/watch?v=P6ucSfDnO24. The entire length of the

interview is 21minutes, 40 seconds. The interview first mentions Father Emmanuel’s short

position in Ligand at the 14 minute, 40 second mark in the interview. At the 16 minute mark in

the interview, Father Emmanuel stated that he spoke with Ligand’s IR firm the day before the

interview and they “basically agreed” that they understood Promacta was going away. The

discussion regarding Ligand ended at approximately the 19 minute, 30 second mark in the

interview.

        15.   Attached hereto as Exhibit 12 is a true and correct copy of a report titled “Ligand

Pharmaceuticals Incorporated (LGND) ‘If something cannot go on forever, it will stop.’

Initiating Coverage With a Sell, $16.00 Price Target,” dated July 22, 2014, produced by non-

party Empire Asset Management Company.




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       16.     Attached hereto as Exhibit 13 is a true and correct copy of a report titled “Ligand

Therapeutics, Inc (LGND) 2Q2014 Results: Maintain our $16.00 Price Target,” dated August 5,

2014, produced by non-party Empire Asset Management Company.

       17.     Attached hereto as Exhibit 14 is a true and correct copy of an email exchange

between Todd Pettingill of Ligand, Glenn Dourado, and Eric Vajda, dated August 22, 2014,

produced by non-party Ligand Pharmaceuticals at LGND_0041211 - LGND_0041213.

       18.     Bradley J. Bondi’s Wikipedia page is available at

https://en.wikipedia.org/wiki/Bradley_J._Bondi. Under the section titled “Government Service”

it states that Mr. Bondi “served three years on the executive staff of the Securities and Exchange

Commission, working as counsel for enforcement actions and regulatory rule-making to

Commissioners Paul S. Atkins and Troy Paredes, the former of whom Bondi has co-authored op-

eds and journal articles on regulatory policy and securities law.” His Wikipedia page also states

that Mr. Bondi “appears regularly as a legal analyst and commentator on television, including

CNBC and Bloomberg Television, and is often quoted in the Wall Street Journal, the New York

Times, the Washington Post, Forbes and others.”

       19.     When viewing the information about the user that created the Wikipedia page for

Mr. Bondi, the user who created this page had never created a Wikipedia page before September

2017. Between September 16-18, 2017, this Wikipedia user created three pages: one for Mr.

Bondi and two for the Co-Heads of Enforcement for the Securities and Exchange Commission.

Since September 2017, this Wikipedia user has created only one additional page for a former

U.S. naval officer. Since September 2017, this Wikipedia user has made multiple edits and

additions to the Wikipedia page for Mr. Bondi.




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       20.      Attached hereto as Exhibit 15 is a true and correct copy of the June 8, 2015 letter

from Member of Congress, Duncan Hunter to the Securities and Exchange Commission

produced by non-party Ligand Pharmaceuticals at LGND_0080800 - LGND_0080801.

       21.     Attached hereto as Exhibit 16 is a true and accurate printout of the December 3,

2019 article published by the New York Times, titled “Duncan Hunter’s Guilty Plea: Answers to

5 Crucial Questions.” This article is available at

https://www.nytimes.com/2019/12/03/us/duncan-hunter-guilty-plea.html?auth=link-dismiss-

google1tap.

       22.     Attached hereto as Exhibit 17 is a true and accurate printout of the Securities and

Exchange Commission’s Investor Bulletin, published on October 22, 2014, which states that

“Because SEC investigations are generally nonpublic, Enforcement will not confirm or deny the

existence of an investigation unless the SEC brings charges against a person or entity involved.

Enforcement also will not provide updates on the status of any pending SEC investigation.” This

Bulletin is available at https://www.sec.gov/oiea/investor-alerts-bulletins/ib_investigations.html.

       23.     Attached hereto as Exhibit 18 is a true and accurate copy of an email exchange

between Bradley Bondi, Sean Tonolli, and Michael Wheatley (counsel for Ligand) and Scott

Friestad, Virginia Rosado-Desilets, and Sonia Torrico of the Securities and Exchange

Commission between September 15, 2017 and September 18, 2017, produced by the Securities

and Exchange Commission at EPROD-SEC-LIT-E-001189502-EPROD-SEC-LIT-E-001189505.

       24.     Attached hereto as Exhibit 19 is a true and accurate copy of the Subpoena sent to

Father Emmanuel by the Securities and Exchange Commission, dated September 1, 2015 “In the

Matter of Trading in the Securities of Ligand Pharmaceuticals, Inc.”




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United State of America that the foregoing is true and correct.



Executed: January 7, 2020                                    /s/ Douglas S. Brooks
                                                             Douglas S. Brooks


                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-participants on January 7, 2020.

                                                             /s/ Douglas S. Brooks
                                                             Douglas S. Brooks




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